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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 16−23003−SLM
                                          Chapter: 7
                                          Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   SignalShare, LLC
   433 Hackensack Avenue
   Hackensack, NJ 07601
Social Security No.:

Employer's Tax I.D. No.:
  27−2463554

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that David Wolff is discharged as trustee of the estate of the above named debtor(s) and the bond
is canceled; and the case of the above named debtor(s) is closed.


Dated: August 14, 2023                          Stacey L. Meisel
                                                Judge, United States Bankruptcy Court
